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           IN THE UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF ARKANSAS
                    CENTRAL DIVISION

UNITED STATES OF AMERICA                                     PLAINTIFF

v.                      No. 4:14-cr-114-DPM-15

ADAM LEE McCLUNG
Reg. No. 28787-009                                         DEFENDANT

                                ORDER
     1. McClung moves for immediate release under 18 U.S.C.
§ 3582(c)(l)(A)(i) based on the risk that the ongoing COVID-19
pandemic presents to his health. McClung submitted a compassionate
release request that the Warden denied. Doc. 954 at 4. But it's unclear
whether McClung has fully exhausted his administrative rights to
appeal. 28 C.F.R. §§ 571.63(a)-(d) & 542.15.
     2. It's unnecessary to get clarity on the exhaustion issues, though,
because even if McClung has exhausted his administrative remedies,
his motion fails on the merits. McClung is a young man with a history
of asthma and pulmonary nodules. His concerns about the virus are
therefore valid. During the conspiracy in this case, though, McClung
purchased methamphetamine by the pound for resale. He's served
almost five years of his seven-year sentence; but that sentence was a
two-year downward variance from McClung' s advisory Guidelines
range. Further, the United States reports that during his time in the
Bureau of Prisons, McClung has been disciplined for introducing drugs
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or alcohol and expelled from the RD AP program-a program that could
have reduced his sentence by a year if completed. Doc. 958 at 10.      In
these circumstances, reducing McClung's sentence by sixteen months
would not promote respect for the law, provide just punishment, reflect
the seriousness of his offense, or adequately deter McClung and others.
All material things considered, the statute's remedy- reducing his
sentence to time served-is not appropriate in this case. 18 U.S.C.
§§ 3582(c)(1)(A)(i) & 3553(a). His motion, Doc. 954, is therefore denied.
     So Ordered.


                                  D .P. Marshall Jr.
                                  United States District Judge




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